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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                             )
                                                      )              8:11CR32
                        Plaintiff,                    )
                                                      )
         vs.                                          )              ORDER
                                                      )
ERIK LOPEZ-ACEVES,                                    )
                                                      )
                       Defendant.                     )


         This matter is before the court on the motion for an extension of time by defendant Erik
Lopez-Aceves (Lopez-Aceves) (Filing No. 36). Lopez-Aceves seeks an additional thirty days in
which to file pretrial motions in accordance with the progression order. Lopez-Aceves has filed an
affidavit wherein he consents to the motion and acknowledges he understands the additional time
may be excludable time for the purposes of the Speedy Trial Act (Filing No. 37). Lopez-Aceves'
counsel represents that government's counsel has no objection to the motion. Upon consideration,
the motion will be granted.

         IT IS ORDERED:

         Defendant Lopez-Aceves' motion for an extension of time (Filing No. 36) is granted. Lopez-

Aceves is given until on or before June 10, 2011, in which to file pretrial motions pursuant to the

progression order. The ends of justice have been served by granting such motion and outweigh

the interests of the public and the defendant in a speedy trial. The additional time arising as a

result of the granting of the motion, i.e., the time between May 10, 2011, and June 10, 2011, shall

be deemed excludable time in any computation of time under the requirement of the Speedy Trial

Act for the reason defendant's counsel requires additional time to adequately prepare the case,
taking into consideration due diligence of counsel, and the novelty and complexity of this case. The
failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A)
& (B).
         DATED this 10th day of May, 2011.
                                                      BY THE COURT:

                                                      s/Thomas D. Thalken
                                                      United States Magistrate Judge
